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IN 'I"HE CIRCUIT C{)URT O'F' TH.E THIRTEENTH .ZUDICIA_L 'CZRCUIT
}.N AN¥} FOR `HILLSBOROU{§H COU`NTY, FLORI})A

CIV£L I}IVIS}.ON
BRAI)LEY `D. STEVENSDN,
}"‘Iaintiff, Case Ni).:
Divis§on:
v.
W() RKNET PINELLAS, INC.,
Defendant`
!

 

COMPLAINT AN:) DEMANI) FOR sum "§~R';AL

P§ain.ti‘f.'i`, BRA`DLBY 1“}. S'FEV]“:ZN`SO¥;\I, by and through undersigned couuscl, brings thi$
action against fi.?efenciant, WORKNET PJ.NE]l.-LAS, .INC., and in support of his claims State:.; as
.t`o§iow:z: 7

JUR`§SDICTH)N ANI} VENUE-

1. 'I"{zis is an action for damages in excess of $‘153,009.0(}, exclusive of interesi, t?,.:.§
and custs, for \»’i.{)§mions edf the Family and Med'icazf wave Act of 19935 as a'me'ndc:d, {_°*P"`[\»ILA""_},§
29 U.S.C, §26{)1 QM

l Vemu-: is proper in H`illsb<>r<)ugh County_._ because al} uf" the events giving .ri.=.zr~: 141

 

these claims occurred in miss Cmun€y.
PARTLE§
3. `Piaimji"f" is a resident of .L»£ilisbc)rough len€y, Fimfida, and he workch §n§
Hillsburough Corln€y. l

»¢. De.fendani opez‘ates a wc-rk'fc;):’ce solutions company in I-`I.illszbc)r£)ugh Cmm£y,

 

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GENERAL ALLEGATIONS
5. Plaintiff has satisfied all conditions precedent, or they have been Waived.
6. Plaintiff has retained the undersigned attorneys and agreed to pay them a fee.
7. Plaintiff requests a jury trial for all issues so triable.
8. Plaintiff Was an employee of Defendant, and he Worked at least l250 hours in the

12 months preceding his eligibility for leave under the FMLA.

9. Thus, Plaintiff Was an “eligible employee” within the meaning of the FMLA, 29
U.S.C. § 2611(2).

lO. Defendant is an “employer” Within the meaning of the FMLA, 29 U.S.C. §
2611(4).

E\.QE

l l . Plaintiff began Working for Defendant in April 2015 as a Financial Director.

12. On August 5, 2016, Plaintiff suffered from a medical condition that qualified as a
serious health condition Within the meaning of the Fl\/ILA.

13. ()n Augnst 5, 2016, Defendant Was put on notice that Plaintiff suffered from a
serious health condition Within the meaning of the FMLA.

l4. Defendant did not notify Plaintiff of his eligibility to take FMLA leave.

15. On August 15 , 20l6, Plaintiff’s employment Was terminated for absenteeism that
should have been protected by the FMLA.

l6. Defendant’s termination of Plaintiff’s employment violated Plaintiff"s rights

under the FMLA.

 

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COUNT I - FMLA INTERFERENCE

l7. Plaintiff realleges and readopts the allegations of paragraphs l through 16 of this
Complaint, as fully set forth herein

18. Plaintiff required time off from Work to care for himself, because he suffered from
a serious health condition Within the meaning of the FMLA, requiring leave protected under the
Fl\/ILA.

l9. Defendant had notice of Plaintiff’ s serious health condition Nevertheless, instead
of putting Plaintiff on notice of his FMLA leave eligibility, Defendant terminated Plaintiffs
employment interfering With Plaintiff’ s FMLA ri ghts.

20. Defendant’s actions Were Willful and done With malice.

2l. Plaintiff Was injured by Defendant’s violations of the Fl\/ILA, for Which Plaintiff
is entitled to legal and injunctive relief.

WHEREFORE, Plaintiff demands:

(a) That this Court enter a judgment, stating that Defendant interfered With
Plaintiff’ s rights in violation of the FMLA;

(b) An injunction restraining continued violation of the FMLA by Defendant;

(c) Compensation for lost Wages, benefits, and other remuneration;

(d) Reinstatement of Plaintiff to a position comparable to Plaintiff’S prior
position With back pay plus interest, pension rights and all benefits or, in
the alternative, the entry of a judgment under 29 U.S.C. §
2617(a)(l)(A)(i)(lI), against Defendant and in favor of Plaintiff, for the
monetary losses that Plaintiff suffered as a direct result of Defendant’s

violations of the Fl\/ILA;

 

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(e) Front pay;
(f) Liquidated Damages;
(g) Prejudgment interest on all monetary recovery obtained;
(h) All costs and attorney’s fees incurred in prosecuting these claims', and
(i) F or such further relief as this Court deems just and equitable
COUNT ll - FMLA RETALIATION
22. Plaintiff realleges and readopts the allegations set forth in Paragraphs l through
16 of this Complaint, as fully set forth herein.
23. Plaintiff required time off from Work to care for himself, because he suffered from
a serious health condition Within the meaning of the FMLA, requiring leave protected under the
FMLA.
24. Plaintiff engaged in protected activity under the FMLA by attempting to exercise
his Fl\/ILA rights
25. Defendant retaliated against Plaintiff for engaging in protected activity under the
FMLA by terminating Plaintiff’ s employment
26. Defendant’s actions Were Willful and done With malice
27. Plaintiff Was injured by Defendant’s violations of the FMLA, for Which Plaintiff
is entitled to legal and injunctive relief.
WHEREFORE, Plaintiff demands:
(a) That this Court enter a judgment, stating that Defendant retaliated against
Plaintiff in violation of the FMLA;
(b) An injunction restraining continued violation of the FMLA by Defendant;

(c) Compensation for lost Wages, benefits, and other remuneration;

 

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(d) Reinstaternent of Plaintiff to a position comparable to Plaintiffs prior
position With back pay plus interest, pension rights and all benefits or, in
the alternative the entry of a judgment under 29 U.S.C. §
2617(a)(l)(A)(i)(ll), against Defendant and in favor of Plaintiff, for the
monetary losses that Plaintiff suffered as a direct result of Defendant’s
violations of the FMLA;

(e) Front pay;

(i) Liquidated Damages;

(g) Prejudgment interest on all monetary recovery obtained;

(h) All costs and attorney’s fees incurred in prosecuting these ciaims; and

(i) For such further relief as this Court deems just and equitable

JURY TRIAL DEMAND
Plaintiff demands trial by jury as to all issues so triable

» Lr-aay Orocwber, 2016.

  

Dated this;__

Respectfully submitted,

 
   
 

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